              Case 1:17-cv-03619-MHC-LTW Document 9 Filed 12/15/17 Page 1 of 2
              Case 1:17-cv-03619-MHC-LTW             Document 8        Filed 11/16/17          Page 2 of 3
This form to be completed by the United States District Court Clerk's Office and dated and signed by
                                                the Defendant only.
                                                                                                                     ��or•r.\Ct.
                                                                                                                            a�   �
                                                                                                     r.S'.) \�C,\.t.�. p..�
                                                                                                �\\.\. u.sD·C·                   \\�
                                    WAIVER OF SERVICE OF SUMMONS
                                                                        \)t_\, \ ��E.   'V �· c\e�
TO:       THE CLERK OF COURT, NORTHERN DISTRICT OF GEORGIA on behalf ofl t-E.S .
                                                                          ·
                                                                              �  \"\f>'
                                                                                            �u\:JIG
                                                                                                      pa  ...

                                                                      l�'               0 •\)
          Troy Barber (Plaintiff)
                                                                                                    ��
          I acknowledge receipt of your request that I waive service of a summons in the action of Troy Barber
vs.   Jerry Conner, which is case number 1:17-cv-03619-MHC-LTW, in the United States District Court for the
Northern District of Georgia, Atlanta Division. I have also received a copy of the complaint in the action, two
copies of this instrument, and a means by which I can return the signed waiver to you without cost to me.


          I agree to save the cost of service of a summons and an additional copy of the complaint in this lawsuit
by not requiring that I (or the entity of whose behalf I am acting) be served with judicial process in the manner
provided by Rule 4.


          I (or the entity on whose behalf! am acting) will retain all defenses or objections to the lawsuit or to the
jurisdiction or venue of the court except for objections based on a defect in the summons or in the service of the
summons.


          I understand that a judgment may be entered against me (or the party on whose behalf! am acting) if an
answer or motion under Rule 12 is not filed with the court and served upon you within 60 days after
_______                , or within 90 days after that date if the request was sent outside the United States.



      l:l- /i-17
D�te


                                                              Typed Name:   __________



                                                                                       [as    -------�



                                                                                       [of    _______�




                                                                                                ,, .. ·
                                                      .:. �                 '•-: ,..    ·)"
                           Case 1:17-cv-03619-MHC-LTW Document 9 Filed 12/15/17 Page 2 of 2
                            Case 1:17-cv-03619-MHC-LTW                   Document 8         Filed 11/16/17        Page 3 of 3
                                           Duty to Avoid Unnecessary Costs of Service of Summons



                       Rule 4 ofthe Federal Rules ofCivil Procedure requires certain parties to cooperate in saving unnecessary


              costs of service of the summons and complaint. A defendant located in the United States who, after being


              notified of an action and asked by a plaintiff located in the United States to waive service of a summons, fails


              to do so will be required to bear the cost of such service unless good cause be shown for its failure to sign and


              return the waiver.


                       It is not good cause for a failure to waive service that a party believes that the complaint is unfounded,


              or that the action has been brought in an improper place or in a court that lacks jurisdiction over the subject


              matter of the action or over its person or property. A party who waives service of the summons retains all


              defenses and objections (except any relating to the summons or to the service of the summons), and may later


              object to the jurisdiction of the court or to the place where the action has been brought.


                       A defendant who waives service must within the time specified on the waiver form serve on the


              plaintiff's attorney (or unrepresented plaintiff) a response to the complaint and must also file a signed copy of

..�   ·   �
              1; 11. 11..spuu::;t wit"' the •.;uu1t. I,- rne an'.-, w..:1· o;· motion is not served within this ti rue, a llefault judgmenl way bi-'


              taken against that defendant.         By waiving service, a defendant is allowed more time to answer than if the


              summons had been actually served when the request for waiver of service was received.
